AO 199A (Rev. 06/19) Order Setting Conditions of Release                              Page 1 of              Pages



                                    UNITED STATES DISTRICT COURT

                             FOR THE MIDDLE DISTRICT OF TENNESSEE



UNITED STATES OF AMERICA                                                 )

V.                                                                         )   Case No. 2:21-cr-00008-1
        Thomas K. Weir                                                   )

                Defendant



                                ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

     (1) The defendant must not violate federal, state, or local law while on release.

     (2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

     (3) The defendant must advise the court or the pretrial services office or supervising officer in writing before
         making any change of residence or telephone number.

     (4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve any
         sentence imposed.


        The defendant must appear at:
                                                                 Place


        On
                                                           Date and Time


        If blank, defendant will be notified of next appearance.



     (5) The defendant is released on his own recognizance or, if an appearance bond is required, must sign an
         appearance bond.




              Case 2:21-cr-00008 Document 15 Filed 12/02/21 Page 1 of 5 PageID #: 74
    AO 199B (Rev. 10/20) Additional Conditions of Release                                          Page       of

                                        ADDITIONAL CONDITIONS OF RELEASE
K   Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restriptive condition(s) only as
    necessary to reasonably assure the appearance of the person as required and the safety of any other person and
    the community.
    IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:
    [ ] (6)         The defendant is placed in the custody of the following, whose address has been provided to
    Pretrial Services:
                       Person:
                       Person:
    Who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court
    proceedings, and (c) notify the court immediately if the defendant violates a condition of release or is no longer
    in the custodian's custody.
                                                 Signed:
                                                        Custodian                                   Date
                                                 Signed:
                                                        Custodian.                                  Date
    [   ]   (7)        The defendant must:
            [     ]    (a) submit to supervision by and report for supervision by Pretrial Services as instructed.
            [     ]    (b) continue or actively seek- employment
            [     ]    (c) continue or start an education program
            [     ]    (d) surrender any passport to:
            [     ]    (e) not obtain a passport or other international travel document
            [     ]    (f) travel is restricted to the Middle District of Tennessee unless approved in advance by pretrial
    services.
             [ ] (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness
    in the investigation or prosecution, including:
            [     ]    (h) get medical or psychiatric treatment:
            [ ] (i) participate in a mental health evaluation and/or program if required by pretrial services with the
    cost to be determined by pretrial serviced based on ability to pay or availability of insurance.
                       maintain residence at a halfway house or community corrections center, as the pretrial services
    office or supervising officer considers necessary                                     4


            [     ]    (k) not possess a firearm, destructive device, or other weapon
            [     ]    (1) not use alcohol   [     ] at all      [   ] excessively
           [ ] (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21
    U.S.C. § 802, unless prescribed by a licensed medical practitioner

                      Case 2:21-cr-00008 Document 15 Filed 12/02/21 Page 2 of 5 PageID #: 75
AO 199B (Rev. 10/20) Additional Conditions of Release                                           Page          of

       [ ] (n) submit to testing for a prohibited substance if required by the pretrial services office or
supervising officer. Testing may be used with random frequency and may include urine testing, the wearing of a
sweat patch, a remote alcohol testing system, and/or any form of prohibited substance screening or testing. The
defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
substance screening or testing.
        [ ] (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if
directed by the pretrial services office or supervising officer, which may be followed by up to 90 days in a half-
way house with cost to be determined by pretrial services based on ability to pay or availability of insurance.
       [ ] (p) participate in one of the following location restriction programs and comply with its
requirements as directed.
                [    ]   (i) Curfew. You are restricted to your residence every day
                         [   ]   (A) from                     to                     OR
                         [   ]   (B) as directed by the pretrial services office or supervising officer; or
                                                                                            4
               [ ] (ii) Home Detention. You are restricted to your residence at all times except for
employment; education; religious services; medical, substance abuse, or mental health treatment; attorney visits;
court appearances; court-ordered obligations; or other activities approved in advance by the pretrial services office
or supervising officer; or
              [ ] (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence
except for medical necessities and court appearances or other activities specifically approved by the court; or
               [ ] (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home
incarceration restrictions. However, you must comply with the location or travel restrictions as imposed by the
court. Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS)
teclmology.
         [ ] (q) Submit to the following location monitoring technology and comply with its requirements as
directed and pay all or part of the cost of location monitoring based upon ability to pay as determined by the
pretrial services or supervising officer:
                 [   ]   (i) Location monitoring technology as directed by the pretrial services officer; or
                 [   ]   (ii) Voice Recognition; or
                 [   ]   (iii) Radio Frequency; or
                 [   ]   (iv) GPS

                (r) report as soon as possible, and within 48 hours, to the pretrial services or supervising officer,
every Xontalct with law enforcement personnel, including arrests, questioning, or traffic stops
        [ ] (s) permit pretrial services to visit at home or elsewhere without advance notification within the
discretion of Pretrial Services and permit confiscation of any contraband observed in plain of the Pretrial Services
officer(s).




              Case 2:21-cr-00008 Document 15 Filed 12/02/21 Page 3 of 5 PageID #: 76
AO 199C (Rev. 9108) Additional Conditions of Release                                            Page       of

                                   ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for
contempt of court and could result in imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of
not more than ten years and for a federal misdemeanor offense the punishment is an additional prison term of not
more than one year. This sentence will be consecutive (i.e., in addition to) to any other sentence you receive.
        It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal
investigation; tamper with a witness, victim, or informant; retaliate or attempt to retaliate, against a witness, victim,
or informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or
attempted killing.
        If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve
a sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed.
If you are convicted of:
        (1) An offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or
            more — you will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;
        (2) An offense punishable by imprisonment for a term of five years or more, but less than fifteen years —
            you will be fined not more than $250,000 or imprisoned for not more than five years, or both;
        (3) Any other felony — you will be fined not more than $250,000 or imprisoned not more than two years,
            or both;
        (4) A misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or
            both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other
sentence you receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.


                                              Acknowledgement of the Defendant
       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I
promise to obey all conditions of release, to appear as directed, a d surrender to serve any sentence imposed. I
am aware of the penalties and sanctions set forth above. , ''


                                                                        Defendant's signature


                                                                            City and State




              Case 2:21-cr-00008 Document 15 Filed 12/02/21 Page 4 of 5 PageID #: 77
        Directions to the United States Marshal
               The defendant is ORDERED released after processing.
        [ ] The United States marshal is ORDERED to keep the defendant in custody until notified by the
clerk or judge that the defendant has posted bond and/or complied with all other conditions for release. If still
in custody, the defendant must be produced before the appropriate judge at the time and place specified.


    -l>~-,-> 2,aa
Date:
                                                              v 'cial Office - "s' Signature


                                                      Barbara D. Holmes, United States Magistrate Judge
                                                             Printed name and title




DISTRIBUTION:          COURT     DEFENDANT            PRETRIAL SERVICE       U.S. ATTORNEY          U.S. MARSHAL




             Case 2:21-cr-00008 Document 15 Filed 12/02/21 Page 5 of 5 PageID #: 78
